     Case 2:20-cv-02892-SHL-tmp   Document 151   Filed 11/09/21   Page 1 of 10
                                   PageID 2553



                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TENNESSEE


FUSION ELITE ALL STARS, et al.,

                    Plaintiffs,
                                         Case No. 2:20-cv-02600-SHL-tmp
v.
                                         JURY TRIAL DEMANDED
VARSITY BRANDS, LLC, et al.,

                    Defendants.


JONES, et al.,

                    Plaintiffs,
                                         Case No. 2:20-cv-02892-SHL-tmp
v.
                                         JURY TRIAL DEMANDED
BAIN CAPITAL PRIVATE EQUITY, et al.,

                    Defendants.


AMERICAN SPIRIT AND CHEER
ESSENTIALS, INC., et al.,
                                         Case No. 2:20-cv-2782-SHL-tmp
                    Plaintiffs,
                                         JURY TRIAL DEMANDED
v.

VARSITY BRANDS, LLC, et al,

                    Defendants.


       REPLY IN SUPPORT OF PLAINTIFFS’ JOINT MOTION TO FACILITATE
          COORDINATION OF DEPOSITIONS IN THE RELATED ACTIONS
    Case 2:20-cv-02892-SHL-tmp             Document 151         Filed 11/09/21      Page 2 of 10
                                            PageID 2554



       Plaintiffs Fusion Elite All Stars, Spirit Factor LLC d/b/a Fuel Athletics, Stars and Stripes

Gymnastics Academy Inc. d/b/a Stars and Stripes Kids Activity Center, Kathryn Anne Radek,

Lauren Hayes, and Janine Cherasaro (collectively, “Fusion Elite Plaintiffs”); Plaintiffs Jessica

Jones, Michelle Velotta, and Christina Lorenzen (collectively, “Jones Plaintiffs”); and Plaintiffs

American Spirit and Cheer Essentials, Inc., Rockstar Championships, LLC, Jeff & Craig Cheer,

LLC, d/b/a Jeff and Craig Camps, and Ashley Haygood (collectively, American Spirit

Plaintiffs”) hereby respectfully submit this Reply in Support of their Joint Motion to Facilitate

Coordination of Depositions in the above-captioned matters (collectively, the “Related

Actions”).

                                           ARGUMENT

       Defendants propose that, instead of determining before depositions commence how many

hours of testimony will be permitted in depositions noticed in all three Related Actions, the

parties should instead be required to negotiate, justify, and likely litigate, seriatim, every

deposition where more than seven hours of testimony is required. 1 This is unworkable, unfair,

and a total departure from the manner in which depositions in analogous complex related actions

are typically handled by the courts, as demonstrated in the numerous orders attached to

Plaintiffs’ Motion. Indeed, such orders are ordinarily achieved by consent, without the need for

motion practice. Yet Defendants’ proposal would needlessly increase the costs of litigation to the

parties and burden the Court with duplicative and unnecessary motions.




1
 The Discovery Order in Fusion Elite permits “55 non-expert depositions, inclusive of third-
party depositions.” (No. 20-cv-2600, Dkt. 89 at 3.) The Jones Plaintiffs are in the process of
proposing a deposition protocol for depositions in their own action, which will account for
additional depositions to cover the additional defendants named in that action.
    Case 2:20-cv-02892-SHL-tmp            Document 151         Filed 11/09/21      Page 3 of 10
                                           PageID 2555



       Defendants do not disagree with the provisions of the Plaintiffs’ Proposed Order allowing

Plaintiffs to attend and ask questions at all depositions noticed in the Related Actions. (Proposed

Order at ¶¶4-5.) What Defendants appear to disagree with are the measures required to

implement that coordination—namely additional time for each group of Plaintiffs to ask their

questions at coordinated depositions. (Id. at ¶¶6-7.) Defendants’ proposal is based on a

fundamental misapplication of the Federal Rules of Civil Procedure. It treats the Related

Actions—on behalf of three different groups of litigants and involving different damage

theories—as a single lawsuit, and it posits that three notices of deposition should be treated as

one simply because Plaintiffs stipulated to the coordination of discovery in the Related Actions.

(No. 20-cv-02600, Dkt. 92.) But Plaintiffs’ proposal regarding deposition time does not seek to

expand the time permitted for a single deposition of a single witness. Rather, it actually restricts

the time that would normally be permitted when three separate depositions are noticed in three

separate lawsuits. Absent coordination, Rule 30(d)(1) would permit Fusion Elite Plaintiffs seven

hours of questioning at each of their depositions, Jones Plaintiffs seven hours of questioning at

each of theirs, and American Spirit Plaintiffs seven hours of questioning at each of their

depositions. The 11 hours proposed by Plaintiffs—collectively, for all three cases combined—

cuts this time almost in half.

       Defendants’ claim that Fusion Elite Plaintiffs are trying to avoid the deposition limits

they negotiated misstates the relief that Plaintiffs seek. Fusion Elite Plaintiffs are not requesting

to ask questions for more than seven hours per deposition in the Fusion Elite action. Rather, the

Jones Plaintiffs and American Spirit Plaintiffs are trying to avoid duplicating those seven hours,

and they merely want assurances that they will be allotted up to two hours each when each

notices the deposition of a witness also noticed by the Fusion Elite Plaintiffs. Defendants admit




                                                  2
    Case 2:20-cv-02892-SHL-tmp            Document 151         Filed 11/09/21     Page 4 of 10
                                           PageID 2556



that the Fusion Elite action, in which they agreed to seven hours of testimony for each 30(b)(1)

witness and 15 hours of 30(b)(6) testimony for Varsity Defendants, is “narrower” than American

Spirit and Jones. Thus, it would stand to reason that those actions need additional time.

       In order to shorten the time for depositions, Defendants inaccurately characterize the

claims in the Related Actions as “identical” because they are all related to “cheerleading.” (No.

20-cv-2600, Dkt. 159 at 1.) As the Court explained in its discovery coordination order (when it

specifically declined to consolidate the three actions), “each of the three cases is brought on

behalf of largely non-overlapping proposed classes of persons and entities whose interests may

come into conflict, and who may need or desire to take different position[s].” (No. 20-cv-02892,

Dkt. 45 at 4.) While the Jones and American Spirit Plaintiffs also make allegations related to All

Star Cheer competitions and apparel, their allegations are much broader. They additionally

involve claims under state consumer protection and antitrust laws not at issue in Fusion, and

federal and state RICO claims. Jones and American Spirit also involve a series of additional

anticompetitive and illegal practices involving other economic activity, including claims related

to school competitions, recreational cheerleading, school apparel, and cheer camps, and they

involve different Defendants than in Fusion. (No. 20-cv-02892, Dkt. 1 ¶¶1-6, 20-22; No. 20-cv-

2782, Dkt. 1 ¶¶1-2.) Finally, and importantly, Jones Plaintiffs are indirect purchasers and, must

show different damages, including the pass on of illegal overcharges to athletes and their

families in each alleged relevant market (competitions, camps, apparel). (Id. ¶¶1-6, 29-31, 231-

256.) It then only makes sense to provide the American Spirit and Jones Plaintiffs with additional

time to question witnesses about the additional issues raised in their cases. Of course, these time

provisions would be the upper limits and would likely not be needed in each deposition given

that Plaintiffs are coordinating their discovery as efficiently as possible.




                                                  3
    Case 2:20-cv-02892-SHL-tmp            Document 151        Filed 11/09/21      Page 5 of 10
                                           PageID 2557



       The time Plaintiffs seek is on the low end for complex cases of this type. In Intel Corp.

Microprocessor, the court upheld two to three days of depositions of defense witnesses, based on

“eight years of particularized knowledge by the Dell Witnesses, including thousands of

documents personally authored by each one.” In re Intel Corp. Microprocessor Antitrust Litig.,

No. CIV. A. 05-441-JJF, 2008 WL 5377979, at *2 (D. Del. Dec. 18, 2008). Here, every Varsity

witness whose deposition has been noticed, was a custodian of over a thousand, often many

thousands, of documents, and many worked for Varsity for more than 10 years.

       Given the varied scope of the three distinct Related Actions, and the complexity of the

allegations against Defendants, the relief Plaintiffs seek is merely a practical solution to provide

an orderly efficient procedure for addressing timing issues in numerous upcoming depositions. 2

The alternative is an unnecessary multiplication of proceedings. Defendants’ suggestion that it

“should be taken up on a case-by-cases basis,” on the other hand, would create significant

inefficiencies, including repeatedly arguing the same issue, filing emergency motions with the

Court, and wasting the Court’s and the parties’ resources in three already complex antitrust class

actions. 3 As Plaintiffs have shown, they are already doing their best to coordinate across the

three Related Actions, including choosing a lead questioner to cover overlapping topics at each

deposition and also working together, for instance, on motions like this to afford the fair and

efficient process of discovery. Moreover, the relief they seek here is commonplace in these types

of cases. (No. 20-cv-2600, Dkt. 155-1 at 10; Dkt. 155-2, Dkts. 155-4 to 155-6.) The only real



2
 The parties are in the process of finding mutually agreeable dates for the depositions of nine
current Varsity employees and three former Varsity employees that Plaintiffs have noticed.
3
 Because USASF’s conduct relates primarily to the All Star Competition and Apparel markets,
Plaintiffs are willing to limit USASF’s employee and Rule 30(b)(6) depositions to nine hours
each, to allow one additional hour for the Jones and American Spirit cases, to accommodate their
differently-situated parties and different claims against USASF.


                                                  4
    Case 2:20-cv-02892-SHL-tmp            Document 151        Filed 11/09/21      Page 6 of 10
                                           PageID 2558



distinguishing factor Defendants have identified here is their refusal to stipulate to such a

protocol. (Dkt. 159 at 4 n.2.)

       Defendants also misstate the present proposal. It would not apply, as Defendant suggest,

“regardless of the witness (party or third party) or the information the witness might have.” (No.

20-cv-02600, Dkt. 159 at 1.) Plaintiffs’ Proposed Order expressly limits its application to

“deponents represented by counsel for Defendants . . . .” Third party depositions will be

negotiated with those parties’ counsel. Indeed, Plaintiffs have reached such an agreement with

counsel for Brian Elza and Francis LeTard, two former Varsity employees set to be deposed later

this month. Further, deposition time will not be expanded “regardless of . . . the information the

witness might have.” (Id.) If the witness has information relevant only to one case, his or her

deposition will be noticed only in one case and will be, at most, seven hours long.

                                         CONCLUSION

       Plaintiffs seek an ordered process that provides adequate time to address their non-

overlapping claims and to seek testimony to support their own burdens of proof at trial. Their

proposal to coordinate time across the three Related Actions mirrors how this issue has been

handled in similar complex cases where multiple actions and parties are involved. Defendants’

alternative—piecemeal and hasty runs to this Court at the end of seven-hour days in depositions

tightly scheduled around the Related Actions’ discovery timetables—flies in the face of Rule 1’s

admonition that matters “should be construed, administered, and employed by the court and the

parties to secure the just, speedy, and inexpensive determination of every action and

proceeding.” The upper limit of 11 hours that Plaintiffs suggest shows restraint in light of the 21

hours to which they would ordinarily be entitled. For all these reasons, Plaintiffs respectfully

request that this Court grant their motion and enter the proposed order previously submitted

therewith.


                                                  5
   Case 2:20-cv-02892-SHL-tmp   Document 151      Filed 11/09/21     Page 7 of 10
                                 PageID 2559



Dated: November 9, 2021         Respectfully submitted,

                                By: /s/ Katherine Van Dyck
                                Jonathan W. Cuneo*
                                Katherine Van Dyck*
                                Victoria Sims*
                                CUNEO GILBERT & LADUCA, LLP
                                4725 Wisconsin Avenue NW, Suite 200
                                Washington, DC 20016
                                Telephone: (202) 789-3960
                                jonc@cuneolaw.com
                                kvandyc@cuneolaw.com
                                vicky@cuneolaw.com

                                H. Laddie Montague, Jr.*
                                Eric L. Cramer*
                                Michael Kane*
                                Mark R. Suter*
                                BERGER MONTAGUE PC
                                1818 Market Street, Suite 3600
                                Philadelphia, PA 19106
                                Telephone: (215) 875-3000
                                hlmontague@bm.net
                                ecramer@bm.net
                                msuter@bm.net

                                Gregory S. Asciolla*
                                Karin E. Garvey*
                                Veronica Bosco*
                                LABATON SUCHAROW LLP
                                140 Broadway New York, NY 10005
                                Telephone: (212) 907-0700
                                gasciolla@labaton.com
                                kgarvey@labaton.com
                                vbosco@labaton.com

                                Interim Co-Lead Counsel in the Fusion Elite Action for
                                the Proposed Direct Purchaser Class

                                J. Gerard Stranch, IV (TN BPR #23045)
                                Benjamin A. Gastel (TN BPR #28699)
                                BRANSTETTER, STRANCH & JENNINGS, PLLC
                                223 Rosa Parks Ave. Suite 200
                                Nashville, TN 37203
                                Telephone: (615) 254-8801
                                gerards@bsjfirm.com



                                      6
Case 2:20-cv-02892-SHL-tmp   Document 151      Filed 11/09/21      Page 8 of 10
                              PageID 2560



                             beng@bsjfirm.com

                             Liaison Counsel in the Fusion Elite Action for the
                             Proposed Direct Purchaser Class

                             Benjamin D. Elga*
                             JUSTICE CATALYST LAW, INC.
                             81 Prospect Street Brooklyn, NY 11201
                             Telephone: (518) 732-6703
                             belga@justicecatalyst.org

                             Craig L. Briskin*
                             JUSTICE CATALYST LAW, INC.
                             718 7th Street NW Washington, DC 20001
                             Telephone: (518) 732-6703
                             cbriskin@justicecatalyst.org

                             Roberta D. Liebenberg*
                             Jeffrey S. Istvan*
                             Mary L. Russell*
                             FINE KAPLAN AND BLACK, R.P.C.
                             One South Broad St., 23rd Floor
                             Philadelphia, PA 19107
                             Telephone: (215) 567-6565
                             rliebenberg@finekaplan.com
                             jistvan@finekaplan.com
                             mrussell@finekaplan.com

                             Nathan A. Bicks (TN BPR #10903)
                             Frank B. Thacher III (TN BPR #23925)
                             BURCH, PORTER, & JOHNSON, PLLC
                             130 North Court Ave.
                             Memphis, TN 38103
                             Telephone: (901) 524-5000
                             nbicks@bpjlaw.com
                             fthacher@bpjlaw.com

                             Aubrey B. Harwell, Jr. (TN BPR #002559)
                             Charles Barrett (TN BPR #020627)
                             Aubrey B. Harwell III (TN BPR #017394)
                             NEAL & HARWELL, PLC
                             1201 Demonbreun St., Suite 1000 Nashville, TN 37203
                             Telephone: (615) 244-1713
                             aharwell@nealharwell.com
                             cbarrett@nealharwell.com
                             tharwell@nealharwell.com



                                   7
Case 2:20-cv-02892-SHL-tmp   Document 151      Filed 11/09/21     Page 9 of 10
                              PageID 2561




                             Counsel in the Fusion Elite Action for the Proposed
                             Direct Purchaser Class

                             Joseph R. Saveri*
                             Steven N. Williams*
                             Ronnie Seidel Spiegel*
                             Kevin E. Rayhill*
                             Elissa A. Buchanan*
                             Anna-Patrice Harris*
                             JOSEPH SAVERI LAW FIRM, LLP
                             601 California Street, Suite 1000
                             San Francisco, California 94108
                             Telephone: (415) 500-6800
                             Facsimile: (415) 395-9940
                             Email: jsaveri@saverilawfirm.com
                                     swilliams@saverilawfirm.com
                                     rspeigel@saverilawfirm.com
                                     krayhill@saverilawfirm.com
                                     eabuchanan@saverilawfirm.com
                                     aharris@saverilawfirm.com

                             Van Turner (TN Bar No. 22603)
                             BRUCE TURNER, PLLC
                             2650 Thousand Oaks Blvd., Suite 2325
                             Memphis, Tennessee 38118
                             Telephone: (901) 290-6610
                             Facsimile: (901) 290-6611
                             Email: vturner@bruceturnerlaw.net

                             Richard M. Paul III*
                             Sean R. Cooper*
                             PAUL LLP
                             601 Walnut, Suite 300
                             Kansas City, Missouri 64106
                             Telephone: (816) 984-8100
                             Email: rick@paulllp.com
                                    sean@paulllp.com

                             Jason S. Hartley*
                             HARTLEY LLP
                             101 West Broadway, Suite 820
                             San Diego, CA 92101
                             Telephone: (619) 400-5822
                             Email: hartley@hartleyllp.com




                                   8
Case 2:20-cv-02892-SHL-tmp   Document 151       Filed 11/09/21     Page 10 of 10
                              PageID 2562



                              Attorneys in the Jones Action for Individual and
                              Representative Plaintiffs

                              Robert A. Falanga*
                              Kobelah Svensen Bennah*
                              LAW OFFICES
                              FALANGA & CHALKER
                              11200 Atlantis Pl #C
                              Alpharetta, GA 30022
                              Phone: (770) 955-0006
                              Fax: (770) 955-2123

                              Interim Lead Class Counsel in the American Spirit
                              Action for the Proposed Independent Event Production
                              Class, the Competitive Recreational, College, High
                              School or Junior High School Student Parent Class, the
                              Apparel, Athletic Equipment and Merchandise Class,
                              and the Cheer Camp Market Class

                              * Admitted pro hac vice




                                    9
